                                    IN THE UNITED STATES DISTRICT COURT
                               FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                            STATESVILLE DIVISION
                                   CIVIL ACTION NO. 5:20-MD-02947-KDB-DSC


                IN RE: LOWE’S COMPANIES INC.                   )
                FAIR LABOR STANDARDS ACT                       )               ORDER
                (FLSA) AND WAGE AND HOUR                       )
                LITIGATION,                                    )
                                                               )



                       THIS MATTER is before the Court on the “Motion for Admission Pro Hac Vice and

               Affidavit [for Daniel W. Boocher]” (document #67) filed October 29, 2021. For the reasons set

               forth therein, the Motion will be granted.


                       The Clerk is directed to send copies of this Order to counsel for the parties and to the

               Honorable Kenneth D. Bell.


                       SO ORDERED.


Signed: October 29, 2021




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